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                                               September 2, 2022

Via Electronic Case Filing
Hon. James B. Clark, III
U.S. Magistrate Judge for the District of New Jersey
Martin Luther King Building & U.S. Courthouse
50 Walnut Street
Newark, New Jersey 07102

            Re:          Redi-Data, Inc. v. The Spamhaus Project a/k/a The Spamhaus Project Ltd.,
                         Civil Action No. 2:20-cv-17484-JMV-JBC

Dear Judge Clark:

       In furtherance of the August 2, 2022 Order in the above matter [Doc. 25], enclosed for
Your Honor’s consideration and approval please find a proposed Discovery Confidentiality
Order agreed to by the parties.

            As always, we thank the Court for its attention and assistance.


                                                       Respectfully submitted,

                                                       COLE SCHOTZ P.C.

                                                       /s/ Elizabeth A. Carbone

                                                       Elizabeth A. Carbone

CC: All counsel of record (via Electronic Case Filing)




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